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IN THE UNITED sTATEs DISTRICT COURT .53,5~`1f i‘~\ @/
FOR THE WESTERN DISTRICT or TENNESSEE "/l 3/ \\QO
EASTERN DIVIsION ,;.),,; 45 6 ‘
"@ca§.asibé§,'tlr
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KAREN DARNELL, ) a%@%f
)
Plaintiff`, )
)
v. ) No. 04-1189~T_An
)
CoMMIssroNER oF )
soCIAL sECURIrY, )
)
Defendant. )

 

ORDER GRANTING PLAINTIFF’S MOTION FOR ATTORNEY FEES
UNDER THE EAJA AND DENYING TI-IE MOTION FOR ATTORNEY FEES
UNDER THE SOCIAL SECURITY ACT WITHOUT PREIUDICE

 

Plaintiff filed this action to obtain judicial review of Def`endant Commissioner's final
decision denying her application f`or benefits under the Social Security Act. On February
l7, 2005, the court entered an order reversing the decision of the Commissioner and
remanding the action for further development of the record pursuant to sentence four of 42
U.S.C. 406(b). Plaintiff has now filed a petition for an award of attorney fees under the
Equal Access to Justice Act, 28 U.S.C. § 2414(d) (“EAJA”), and § 405(g) ofthe Social

Security Act . The Commissioner has responded to the motion and concedes that Plaintiff’s

This document entered on the docket sheet in compliance
with Ruie 58 and,.'or_7g (a) FHCp on Qj 133 _ Q._~“ , - x

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request for attorney fees under the EAJA in the amount of` $2,888.75 should be awarded.
Consequently, this portion of the motion is GRANTEU.1

Plaintiff also seeks attorney fees under the Social Security Act. An attorney who
successfully represents a Social Security benefits claimant in court may be awarded as part
of the judgment “a reasonable fee not in excess of 25 percent of the past-due benefits”
awarded to the claimant 42 U.S.C. § 406(b)(l)(A). Plaintiff’s request is premature in that
she has not yet been determined to be entitled to past due benefits Accordingly, this portion
is DENIED without prejudice Plaintiff may re-file her motion for § 406(b) fees if she is
awarded past-due benefits

IT IS SO ORDERED.

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JAME .'Tor)'r)
uNrr sTATEs DrsTRiCr JUDGE

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l The EAJA requires a district court to “award to a prevailing party fees and other expenses incurred by
that party in any civil action ..., including proceedings for judicial review of agency action, brought by or against the
United States ..., unless the court finds that the position of the United States was substantially justified or that special
circumstances make an award unjust.” 28 U.S.C. § 2412(d)(l)(A). A party who wins a sentence-four remand order is
a prevailing party for purposes of the EAJA. Shalala v. Schaefer, 509 U.S. 292, 300-02 (1993).

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Notice of Distribution

This notice confirms a copy of` the document docketed as number 22 in
case 1:04-CV-01189 was distributed by f`aX, mail, or direct printing on
July 22, 2005 to the parties listed.

 

 

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Honorable J ames Todd
US DISTRICT COURT

